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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                   DALLAS DIVISION

VICKI TIMPA et al.,                              §
                                                 §
                   Plaintiffs,                   §
and                                              §
                                                 §
JOE TIMPA,                                       §
                                                 § Civil Action No. 3:16-CV-3089-N
                   Intervenor-Plaintiff,         §
                                                 §
v.                                               §
                                                 §
DUSTIN DILLARD et al.,                           §
                                                 §
                  Defendants.                    §


                          DEFENDANTS’ TRIAL BRIEF
                  REGARDING LIMITING PLAINTIFFS’ EXHIBIT 434


TO THE HONORABLE COURT:

         Defendants Dustin Dillard, Kevin Mansell, Danny Vasquez, and Raymond Dominguez

(“Defendants”), for the following reasons, respectfully ask this Court to restrict the use of

Plaintiffs’ Exhibit 434 (the “Exhibit”). Specifically, Defendants respectfully request this Court

instruct Plaintiffs to not reference the Exhibit or its contents during their voir dire, opening

statements, or closing arguments, and to seek Court approval outside the presence of the jury prior

to introducing its existence and contents.

                             I.      ARGUMENTS AND AUTHORITIES

         The Exhibit concerns disciplinary allegations against two witnesses at the scene,

paramedics Curtis Burnley and James Flores (the “Paramedics”). See generally, Ex. As the Exhibit

shows, the Paramedics entered into a settlement agreement with their respective licensing agency,

the Texas Department of State Health Services, based on multiple alleged infractions associated
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with the incident giving rise to this lawsuit. Id. Specifically, the Exhibit contains allegations that

the Paramedics committed multiple infractions that directly implicate Defendants:




Ex. pp. 6-7.

       These allegations cover virtually the entire waterfront of the Paramedics’ interactions with

Mr. Timpa and their subsequent recordkeeping.

       However, the Paramedics were never subject to a judicial or agency finding that they

committed any of the above acts. Instead, they entered into a settlement agreement whereby their



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licenses were given a probated suspension and the Paramedics were required to complete various

education requirements:




Id. p. 2.

        While this Court denied Defendants’ Motion in Limine No. 3 seeking to exclude evidence

of discipline or reprimands of paramedics or officers related to their encounter with Timpa, the

Exhibit includes information that could unfairly prejudice Defendants if Plaintiffs are allowed to

mention, comment on, or allude to its contents in front of the jury before the Exhibit has been

admitted into evidence. Defendants, therefore, ask this Court to curtail the Exhibit’s use and

require Plaintiffs to first obtain approval prior to mentioning the Exhibit’s contents before the jury

or offering it up to a witness. If Plaintiffs are permitted to talk about the Exhibit before it is admitted

into evidence or without restriction as to the contents or as in a limited means of cross-examination,

or if it is discussed in Plaintiffs’ voir dire, opening statement, or closing argument, the jury could

be tempted to equate a state agency’s allegations and findings of regarding Defendant Dillard’s

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use of force with a constitutional violation for excessive force, and unfairly prejudice the jury

against Defendants. Fed. R. Evid. 403. Moreover, the Exhibit is inadmissible.

       First, the document is classic hearsay. Fed. R. Evid. 801(c.) Any offer of the Exhibit that

can even be inferred to show that an agency or regulatory body found that the Defendants used

unreasonable force violates FRE 801. While conceivable that Plaintiffs could find some other use

for the Exhibit, any generalized description or references to it should be excluded or at least require

prior Court approval. See Clapper v. Am. Realty Invs., Inc., No. 3:14-CV-02970-X, 2021 WL

8999317, at *7 (N.D. Tex. Apr. 25, 2021) (denying motion in limine on hearsay grounds but

holding that “Plaintiffs should signal their intent to introduce evidence or testimony related to the

[ ] email to allow for objection and evaluation before introduction.”)

        Second, settlement agreements are almost never admissible evidence. The Fifth Circuit

long ago held that

                as the framers of Rule 408 clearly contemplated, the potential impact of
       evidence regarding a settlement agreement with regard to a determination of
       liability is profound. It does not tax the imagination to envision the juror who retires
       to deliberate with the notion that if the defendants had done nothing wrong, they
       would not have paid the money back.

United States v. Hays, 872 F.2d 582, 589 (5th Cir. 1989.)

       In finding that another settlement agreement was improperly admitted, the Fifth Circuit

noted that “[i]t is reasonable to infer that jurors would view the settlement as an admission of guilt.

In addition, the incentive for parties to settle cases involving many plaintiffs would be undermined

if their settlement with one victim could come back to haunt them in later suits.” McHann v.

Firestone Tire & Rubber Co., 713 F.2d 161, 166–67 (5th Cir. 1983.) The jury here could easily

assume the Paramedics have admitted to fault and did each of the alleged misdeeds. More

critically, the jury could presume that by extension, Defendants likewise committed the misdeeds



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the Paramedics were alleged to not have stopped. This would necessitate a needless side litigation

over the Paramedics’ actions when the Paramedics are not defendants in this case.

        Further, this is not a settlement agreement to which the Defendants were ever parties,

litigants, or were in any way afforded due process to contest the central allegations against them

and the adverse information contained in the settlement agreement. Instead, this was a dispute

between the Paramedics and a state licensing agency for healthcare personnel engaged in on-the-

ground medical services, not an agency equipped to determine whether a use of force was or was

not appropriate. “The calculus of reasonableness must embody allowance for the fact that police

officers are often forced to make split-second judgments—in circumstances that are tense,

uncertain, and rapidly evolving—about the amount of force that is necessary in a particular

situation,” Graham v. Connor, 490 U.S. 386, 396–97 (1989), not the as-yet-resolved

determinations of a state agency that licenses paramedics.

        Third, as another Texas federal court explained, “[a] settlement is not an indication of the

truth of the allegations in a complaint.” Martinez v. Walgreen Co., No. 7:17-CV-309, 2018 WL

3241228, at *5 (S.D. Tex. July 3, 2018), aff’d, 935 F.3d 396 (5th Cir. 2019) (citing Burks v. XL

Specialty Ins. Co., 534 S.W.3d 458 (Tex. App.—Houston [14th Dist.] 2015).) The Exhibit reflects

a settlement and under controlling Texas law, rather than an admission of liability, the Texas

Supreme Court has famously said that a “settlement agreement does nothing more than buy peace.”

State Farm Cty. Mut. Ins. Co. of Tex. v. Ollis, 768 S.W.2d 722, 723 (Tex. 1989) (per curiam.)

        The Paramedics “bought peace” with their settlement with the Texas agency. Parties settle

disputes for countless reasons that have nothing to do with acknowledging fault or with disputed

issues that are completely resolved.1 Until the appropriateness of the admission of this evidence is


1See, e.g. Jason Krause, Some Cases Settle to Avoid E-Discovery Costs Survey Results Show Corporate Lawyers
Are Up on E-Issues, ABA J.E-Report, March 25, 2005.

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determined,2 Plaintiffs should not be allowed to reference its existence or contents during voir dire

or before the jury during their opening statements or closing arguments, and should be required to

seek Court approval for using or referencing it during trial.

                                                 II.      CONCLUSION

         WHEREFORE, Defendants Dustin Dillard, Kevin Mansell, Danny Vasquez, and Raymond

Dominguez respectfully request that the Court order Plaintiffs to refrain from mentioning the

Exhibit or offering to introduce it into evidence until they obtain approval from the Court.

                                                                Respectfully submitted,

                                                                CITY ATTORNEY OF THE CITY OF
                                                                DALLAS

                                                                TAMMY L. PALOMINO
                                                                Interim City Attorney

                                                                s/ J. Cheves Ligon                   .




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                                                       Attorneys for Defendants Dustin Dillard, Kevin
                                                       Mansell, Danny Vasquez, and Raymond Dominguez




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  Federal Rules of Evidence 404, 405, and 608 provide limitations on the admission of character evidence, including
specific instances of conduct of a witness. Defendants contend that these rules preclude the use of the Exhibit against
Defendants.

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                                     CERTIFICATE OF SERVICE

        I certify that on July 17, 2023, I electronically filed the foregoing document with the clerk
of court for the U.S. District Court, Northern District of Texas, using the electronic case filing
system of the court. The electronic case filing system sent a “Notice of Electronic Filing” to the
following attorneys of record who have consented in writing to accept this Notice as service of
this document by electronic means.

                                                      s/ J. Cheves Ligon               .




                                                      Senior Assistant City Attorney




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